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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

ARTHUR L. LEWIS, JR.; GREGORY S.                       )
FOSTER, JR.; ARTHUR C. CHARLESTON,                     )
III; PAMELA B. ADAMS; WILLIAM R.                       )
MUZZALL; PHILIPPE H. VICTOR;                           )
CRAWFORD M. SMITH; ALDRON R. REED;                     )
and AFRICAN AMERICAN FIRE FIGHTERS                     )
LEAGUE OF CHICAGO, INC., individually,                 )    No. 98 C 5596
and on behalf of all others similarly                  )
situated,                                              )    The Honorable Joan B. Gottschall
                                                       )
                      Plaintiffs                       )
       v.                                              )
                                                       )
CITY OF CHICAGO,                                       )
                                                       )
                      Defendant.                       )


     PLAINTIFFS’ REPLY TO DEFENDANT CITY OF CHICAGO’S PROPOSED
        FINDINGS AND CONCLUSIONS WITH RESPECT TO REMEDIES

       Plaintiffs, by their attorneys, reply as follows to the Defendant City of Chicago’s

Proposed Findings and Conclusions With Respect To Remedies (“Defendant’s Proposed

Findings”).

                                         I. Introduction

       Plaintiffs submit that the Court should reject Defendant’s Proposed Findings, as well as

the Proposed Findings of Fact and Conclusions of Law of Rule 19(a) Defendant, Chicago Fire

Fighters Union Local N. 2, Limited to Seniority Related Relief Sought By the Plaintiff Class

(“Local 2 Proposed Findings”), and enter Plaintiffs’ Proposed Findings and Conclusions With

Respect to Remedies (“Plaintiffs’ Proposed Findings”), filed on December 19, 2006. Most of



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Defendant’s Proposed Findings are legally or factually inaccurate, or otherwise legally

objectionable, as detailed below. For ease of the Court’s reference, plaintiffs present below all of

Defendant’s Proposed Findings but specifically reply herein (in bold) only to those which are (1)

materially inaccurate, (2) legally objectionable, or (3) otherwise require response or explanation.

In addition, plaintiffs are withdrawing paragraph A.7. and modifying paragraphs A.5. and C.2. of

plaintiffs’ proposed Injunctive Order of Relief (Exhibit A to Plaintiffs’ Proposed Findings), as

indicated below in reply to Defendant’s Proposed Findings Nos. 9, 4 and 21, respectively.

Attached hereto as Exhibit A is a proposed Revised Injunctive Order of Relief, reflecting these

changes.



                 Defendant’s Proposed Findings and Plaintiffs’ Replies Thereto

       1.        The plaintiffs, a class of approximately 6000 African-Americans who applied for

a limited number of entry-level firefighter jobs with the Chicago Fire Department and who

scored between 65 and 88 on the 1995 firefighter written entrance examination, obtained a

liability finding against the City on March 22, 2005, on their claim that the City violated Title

VII, 42 U.S.C. §2000e, et seq. pursuant to the disparate impact theory of employment

discrimination

       Plaintiffs’ Reply: The plaintiff class includes those who scored between 65 and 88,

inclusive (i.e. including those who scored either 65 or 88).



       2.        The subsequent steps of the hiring process - the physical agility test, background

check, medical examination and drug screening - were not challenged by the plaintiffs.


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Docket R. 1. Specifically, plaintiffs never claimed disparate treatment for any portion of the

hiring process, including the written examination, nor did they ever claim disparate impact

regarding any other step in processing or regarding training. Accordingly, the Court’s Order

entering liability was limited to holding that “the City’s use of the 1995 Test with a cut-off

score of 89" violated Title VII. Docket R. 274, March 22, 2005 Order.

       Plaintiffs’ Reply: This proposed finding, while accurate, is irrelevant in the context

of the remedial order, since the law is clear that the Court has the power, and indeed the

obligation, to modify terms and conditions of employment as necessary in order to

provide make whole relief as a remedy for the City’s violations of Title VII. See,

Albemarle Paper Co. v. Moody, 422 U.S. 405, 418 (1975) (district courts have “not merely

the power but the duty to render a decree which will so far as possible eliminate the

discriminatory effects of the past as well as bar like discrimination in the future”); Franks

v. Bowman Transp. Co., Inc., 424 U.S. 747, 770 (1976). See also cases cited in Plaintiffs’

Reply Brief in Opp. to Local No. 2's Proposed Findings of Fact and Conclusions of Law,

filed simultaneously herewith, at 2, 4.



       3.      Plaintiffs filed a proposed injunctive order on June 28, 2006, and the City filed

its objections to the proposed order on August 30, 2006. Docket R. 333, 358. In addition, an

evidentiary hearing and video taped testimony with respect to monetary and non-monetary

relief were held on (September 13, 2006, September 28, 2006 and December 12, 2006.) On

December 19, 2006, after the conclusion of the evidentiary hearing, plaintiffs filed a revised

proposed injunctive order which contained several new provisions. Docket R. 375-2.

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         Plaintiffs’ Reply: All of Plaintiffs’ Proposed Findings are well supported by the

facts presented to the Court and the applicable statutory and case law.



I.       Remedial Hiring

         4.     The timetable and procedures that plaintiffs set out in paragraphs A.1 through

A.7 of their December 19, 2006, proposed injunctive order differ in several ways from

paragraphs four through seven of plaintiffs’ proposed findings and conclusions. One

significant difference relates to the provision “Timing of Entry into the Academy”. Paragraph

six of plaintiffs’ proposed findings truncates the time table for Academy matriculation and

states that all class members hired pursuant to the Court’s order shall enter the Academy no

later than 12 months after the entry of the Order. However, plaintiffs’ proposed injunctive

order, paragraph five, states that all class members so hired shall enter the Academy within 24

months of the entry of the Order.

         Plaintiffs’ Reply: It has consistently been plaintiffs’ position that remedial entry

into the Academy should be done within 12 months of the entry of the order. Plaintiffs’

Proposed Injunctive Order, filed on June 28, 2006, provides entry into the Academy

within 12 months, not 24 months, see Proposed Injunctive Order of Relief at 3, ¶5, as

does Plaintiffs’ Proposed Findings, filed on December 19, 2006. Plaintiffs’ Proposed

Findings at 3 (“Timing of Entry into the Academy”). However, there is a typographical

error in the proposed Injunctive Order of Relief, attached to Plaintiffs’ Proposed

Findings as Exhibit A, which erroneously states (at paragraph A.5.) that incorrectly states

the time proposed as 24 months. Plaintiffs apologize for any confusion caused by this

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error. See proposed Revised Injunctive Order of Relief, attached hereto as Exhibit A, at

paragraph A.5.



         5.     This Court finds that the City shall have up to 24 months to matriculate all class

members hired pursuant to the Order to the Academy. The Court has considered the evidence

the City offered at the December 12, 2006 hearing pertaining to operational concerns and

difficulties involved with having very large classes (over 60 candidates) assigned to the

Academy at any one time. Dec. 12, 2006 Trial Tr. at 67-68. In particular, the Court finds

that it could be a disadvantage to the class members, as well as the City, to have more than 60

candidates in each class. The Court further finds that the City has presented unrebutted

evidence that it is under contractual obligations with CCFU Local 2, and that its operational

needs dictate that at least 10% of each class at the Academy be comprised of paramedic cross-

overs. Id. at 39-40, 68. For these reasons, the Court has determined that the City is in the

best position and should have the discretion to determine the class sizes provided that all class

members hired pursuant to this Order have entered the Academy within 24 months of this

Order.

         Plaintiffs’ Reply: See Plaintiffs’ Reply to Proposed Finding No. 5, above. In

addition, no evidence was presented that would support the conclusions that the City

cannot easily accommodate back-to-back successive classes of 66 remedial hires in each.

The City has successfully trained far larger classes at the Academy. For example, Local

2's witness, Marc McDermott, was hired by the Chicago Fire Department in 1987, and

was trained in the Academy in a class of “[a]round a hundred” cadets. See December 12,

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2006 Transcript of Trial Proceedings at 12. In addition, the record cited by the

defendant above merely contains testimony that currently, Academy classes are “about 60

people. That's pretty much what we can comfortably hold.” December 12, 2006 Trial

Transcript at 67-68. A class of 66 is “pretty much” “about 60 people.” The testimony

from Deputy District Chief Mark Nielsen, the Assistant Director of Training for Fire

Suppression and Rescue at the Training Academy, also notes that (1) in the past the

Academy has handled more than one hundred cadets in a single class, (2) the Academy

training that Nielsen received twenty-six and one-half years ago was “fine,” (3) the

Academy has a classroom which accommodates up to 120 cadets, and (4) there can be

accommodations made when extra classes need to be trained. Id. at 51, 67-68, and 75.

       More importantly, in response to the Court’s questioning, Nielsen revealed that the

classes are staggered so that a class is graduated every three months. Id. at 74-75.

Therefore, even if it were necessary to keep class sizes at 60 or less, the remedial hires

could easily complete the six month training program in three classes of 44, staggered at

three month intervals over a one year period.

       In addition, the contractual obligations under the contract with Local 2 to have

10% of each class be comprised of paramedic crossovers is neither a legal nor a logical

impediment. First, such a contractual obligation cannot override the Court’s remedial

powers and obligations under Title VII. Second, according to Deputy Commissioner

Derrick Jackson, there are no more paramedics to train, so the provision cannot be

complied with at this time in any event. Id. at 39 (“We ran out of cross-over medics some

time ago.”). Third, even if there were more paramedics to train, there is no reason why

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the classes could not be comprised of either 44 or 66 remedial hires plus an additional

10% (either 4 or 7) paramedics.

       Finally, neither the class size or the paramedic training concerns are relevant or

material to the speed with which the remedial hiring should be undertaken, as they are -

at the very most - resource issues, and there is no evidence that the City could not

reasonably commit the resources necessary to matriculate the remedial hires into the

Academy withing 12 months of the entry of the Injunctive Order of Relief.



       6.      Plaintiffs’ proposed findings and conclusions also propose, for the very first

time in these proceedings, that the City “employ a skip tracing service to update class

members’ address information before offers to advance to the next steps of the hiring process

are mailed, rather than simply relying on addresses provided by class members in 1995 at the

time they registered for the 1995 Firefighter Test.” December 19, 2006, Plaintiffs’ Proposed

Findings and Conclusions (“Dec. 19, 2006 PPFC”) at ¶ 7. As this was not proposed until

after discovery and the evidentiary hearings had concluded, the City was never given an

opportunity to contest that proposal. The Court finds that it is an expensive and unnecessary

burden for the City to employ a skip tracing service for the following reasons. First, there are

over 6000 class members and the cost of employing a skip tracing service for so many

individuals would be prohibitive. Second, it is the obligation of all test takers to inform the

City each time they incur a change in address. All persons who took and passed the 1995

entrance examination were informed of that obligation at the time they received their score

letters. See Exhibit A. Third, if any class member did not update his/her address, it is fair to

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assume that person is less interested in the position. In view of these factors, plaintiffs have

not shown that there is a need for the City to incur the large costs of a skip tracer, nor have

they demonstrated that the class members were not notified of their obligation to send in notice

of changes in their addresses. Further, the Court finds that plaintiffs waived this proposal by

submitting it after the close of discovery, the time period for filing contentions to the proposal,

and the evidentiary hearing itself. Accordingly, notice to class members of offers to advance

to the remaining steps of the hiring process shall be made in the normal and customary way

that the City has been sending those notices since 1996.

       Plaintiff’ Reply: Plaintiffs cannot imagine what evidentiary discovery or

proceedings would conceivable be relevant to this proposal to make reasonable efforts to

provide notice to persons selected for processing pursuant to the provisions of the

Injunctive Order of Relief. Such notice of relief is a legal requirement of the resolution of

a class action, and is the City’s obligation as the losing party. See, e.g., Macarz v.

Transworld Systems, Inc., 201 F.R.D. 54, 59 (D.Conn. 2001) (“where notice is to occur

after liability has been determined, the defendant appropriately bears the costs”; citing

other cases). In any event, plaintiffs are not proposing that a skip tracer be employed to

locate the “over 6000 class members” as misrepresented by the City, but rather the

proposal applies only to the approximately 400 persons that the City has estimated based

on past experience would have to be screened in order to arrive at 132 matriculated

remedial hires. Given the resources available on the internet, the expense of updating

addresses for 400 people is modest.




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       7.      Plaintiffs’ proposed injunctive order sets out a detailed timetable for when

certain events should occur. The City’s contentions to that proposed order pointed out that

based on the City’s experience with the selection process, plaintiffs’ timetable would not

provide the City with sufficient time to complete the physical agility tests, background checks,

medical examinations and drug screening tests. Plaintiffs’ proposed order would give the City

only four months in which to complete all those steps for hundreds of people in order to create

a pool of 132 class members who passed all the required screening. Dec. 19, 2006 proposed

order at A(4). The City will use its best efforts to complete the screening process within 200

days from entry of the Order, and if it cannot do so, it will so inform the Court of when it

expects to complete the screening requirement. 1

       Plaintiff’ Reply: As noted in Plaintiffs’ Proposed Findings, at 4, n. 2, the City

refused to provide plaintiffs with any discovery regarding potential difficulties in the

implementation of these provisions of the proposed remedial order, and thus should not

now be allowed to make objections to them, particularly such objections without any

factual basis in the record.



       8.      As to the lottery process that will be used to select the class members who will

undergo the subsequent screening process, this Court finds that no evidence was presented to

show that the current random selection process already conducted by an outside contractor is

not a fair process. Nor did plaintiffs present any evidence to justify the additional expense or


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        The City is not waiving its right to appeal any order nor its right to request a stay of an
order pending an appeal. Each time that the terms of an “order” is referenced throughout this
document, the City restates and incorporates this reservation .

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administrative burden that their proposal puts on the City. Accordingly, that process will be

used to randomly select the class members, from those who remain on the eligibility list, to

proceed to the next step in the processing sequence.

       Plaintiffs’ Reply: Plaintiffs submit that the terms of the proposed Injunctive Order

of Relief are not in conflict with manner in which the City currently conducts the random

selection process, and the City has not identified any such conflict. Plaintiffs, accordingly,

submit that the proposed lottery provision should be included in the remedial order.

Plaintiffs’ have no objection to the City continuing to use the same outside contractor, as

long as the selection process is random, and not in any way controlled, directed or

influenced by the City or any other outside source.



       9.      Finally, with regards to the processing requirements, plaintiffs request, for the

first time in their December 19, 2006 proposed injunctive order, that all class members be

permitted to return “Candidate Interest Cards” by mail. Docket R. 375-2 at A(7) (Plaintiffs’

proposed injunctive order dated December 19, 2006). The City never had the opportunity to

present contentions or evidence as to this issue as plaintiffs failed to raise it in a timely

manner, and accordingly, plaintiffs waive the right to request this. Further, plaintiffs did not

adduce any evidence to show why this deviation from the practice that has been followed since

early 1996 should be allowed. Therefore, this Court finds that the same procedure that

everyone up to date has followed since 1996, i.e., returning the “Candidate Interest Cards” in

person to the City, shall also apply to the class members. There has been no reason presented

as to why class members should be accorded an opportunity that no other person selected for


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further processing to date has been accorded.

       Plaintiffs’ Reply: Plaintiffs withdraw this provision (paragraph A.7.) of the

proposed Injunctive Order of Relief. See proposed Revised Injunctive Order of Relief,

attached hereto as Exhibit A.



II.    Retroactive Seniority

       10.     The City’s position is that if retroactive seniority is credited, it should be based

on the shortfall from each class. This is the same position the Union takes. The “make whole”

concept of Title VII relief would best be achieved by placing the class member most closely in

the position they would have been had the City randomly selected from those who passed the

written examination, instead of beginning with selection from the well-qualified list.

Albermarle Paper Co. v. Moody, 422 U.S. 405, 421 (1975)(quoting 118 Cong. Rec. 7168

(1972). This means that class members will be randomly assigned, for purposes of a seniority

date, to the classes that matriculated between May 16, 1996 and November 1, 2002, according

to the number of shortfall for each class. The chart setting out the shortfall for each such class

is set out in Table I of the proposed findings and conclusions of law that the Chicago Fire

Fighters Union Local No. 2 filed on January 4, 2006. Docket R. 378 at p.4.

       Plaintiffs’ Reply: It makes no sense to apply an arbitrary distribution of actual

seniority dates among class members. Plaintiffs have proposed that all class members

hired as part of the remedy in this case ("the shortfall group") be assigned seniority

retroactive to December 4, 1998, the average date on which class members would have

been hired in the absence of discrimination. See Plaintiffs' Proposed Findings and



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Conclusions at 5-7, ¶¶ 10-14. Plaintiffs submit that assigning the average seniority date

they would have obtained to all members of the shortfall group will make them whole with

respect to their seniority rights to the extent that it is reasonably possible to do so. As the

courts have recognized for decades, Title VII’s grant of remedial authority “should be

broadly read and applied so as to effectively terminate the [illegal] practice and make its

victims whole.” Bowe v. Colgate-Palmolive Co., 416 F.2d 711, 721 (7th Cir. 1969). In order

to carry out this statutory mandate, courts have the power to fashion classwide remedies

which provide effective relief without requiring either “unreasonable exactitude” or a

“quagmire of hypothetical judgments.” Pettway v. Am. Cast Iron Pipe Co., 494 F.2d 211,

260 (5th Cir. 1974). Each class member lost the same opportunity to be considered for a

job, and thus it is more logical and equitable to give each member of the shortfall group

the same average seniority date, as plaintiffs propose to do. See Plaintiffs’ Reply Brief In

Opposition to Rule 19(a) Defendant Chicago Fire Fighters Union Local No. 2's Proposed

Findings of Fact And Conclusions Of Law at 2-4. The only result of the City’s proposal

would be to increase the arbitrariness of the remedy. Further, the City’s approach offers

no financial savings to the City, and therefore does not even provide benefits from the

defendant’s perspective.



       11.    Plaintiffs also seek a reduction to 30 months from the 54 month “time in grade”

requirement contained in Section 9.3B of the collective bargaining agreement, should they be

eligible for promotion to the rank of Engineer or Lieutenant after taking such an examination.

December 19, 2006 Proposed Order at B(3). Pursuant to that collective bargaining agreement,



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no employee may be promoted to the position of engineer or lieutenant without having

completed 54 months in the classification of firefighter and/or engineer.

       Plaintiffs’ Reply: See Reply to No. 12, below.



       12.     The Court has weighed the testimony the Union and the City presented

regarding the time in grade requirement, and rejects plaintiffs’ argument that such a

requirement can be reduced because it did not exist prior to the 1994-1999 contract and

therefore is not necessary. Plaintiffs’ Proposed findings at § 17; Tr. P. 25, l. 18-25. The

Court rejects that position in view of the fact that the job of firefighting is more difficult today

than it was in the past. Tr. P. 38, l. 8-18. The Court further finds that the job of Lieutenant,

which is a supervisory rank, is an important job and plaintiffs did not adduce evidence

demonstrating that an individual is as good a Lieutenant after only 30 months on the job as a

firefighter as he/she would be after 54 months on the job. Tr. P. 35, l. 14-25; p. 36, l. 1-14;

p. 37, l. 7-16. Plaintiffs failed to show that Section 9.3B of the collective bargaining

agreement is not necessary to have a good firefighting force. Dec. 12, 2006 Tr. 42, l.7-12.

       Plaintiffs’ Reply: As was pointed out in paragraph 17 of Plaintiffs’ Proposed

Findings, the City never contested this aspect of the proposed remedial order in the court-

ordered pretrial contentions of the parties. The City should not be allowed to do so now.

See also, Plaintiffs’ Reply Brief In Opposition to Rule 19(a) Defendant Chicago Fire

Fighters Union Local No. 2's Proposed Findings of Fact And Conclusions Of Law at 4-6.

       13.     The Court notes that plaintiffs’ December 19, 2006, proposed injunctive order

contains two provisions for which plaintiffs presented no evidence in support thereof, and for


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which they do not raise any proposed findings or conclusions. Specifically, plaintiffs’

proposed Order would require that the City offer and administer promotional examinations for

the ranks of Engineer and Lieutenant no sooner than 18 months, but no later than 28 months

after class members hired pursuant to the Order graduate from the Academy. December 19,

2006, Proposed Order at B(3). In addition, the proposed Order states that any class member

who is promoted to the position of Engineer or Lieutenant from the above promotional exams

shall, upon promotion, receive salary and benefits commensurate with having been promoted

12 months sooner. Id. at B(4). The Court rejects both provisions of the proposed Order

because plaintiffs did not provide any evidence or legal support to sustain such findings.

       Plaintiffs’ Reply: In order to provide effective make-whole relief, the remedial

order must not only address the fact that the plaintiff class members lost the opportunity

to be considered for hiring in a timely manner as a result of the City’s illegal use of the

1995 hiring examination, but also that the opportunity is only now being provided by the

remedial order many years later. Therefore, as a necessary part of make whole relief,

those plaintiffs who are hired as part of the remedy must receive redress for not only the

lost hiring opportunity, but also the potential loss of their opportunity to be promoted

during the time they were illegally denied the opportunity to be hired. This is particularly

important given that the passage of time necessarily means that the remedial hires will be

more than 10 years older when they become firefighters than they would have been if the

test had been properly used by the City in a nondiscriminatory manner, and their careers

are accordingly likely to be shorter than they would otherwise have been. Plaintiffs

therefore propose that the City be required to give promotional examinations for the


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ranks of Engineer and Lieutenant to all eligible firefighters (including, but not limited to

the remedial hires) no sooner than 18 months and no later than 28 months after the

remedial hiring. Any remedial hire who receives a promotion as a result of his or her

performance on these examinations would then be given salary and benefits as if the

promotion had occurred 12 months earlier.

       This provision is essential in order to redress the lost promotional opportunities as

a result of the City’s violation of Title VII. The City must be required to give

promotional examinations within a reasonable period of time after the remedial hiring in

order to ensure that the remedial hires are not permanently deprived of their

promotional opportunities, as would occur, for example, if the City give promotional

examinations only shortly before the remedial hiring, and/or many years later. These are

not unreasonable scenarios, given that (1) it has been more than ten years since the last

lieutenant’s examination was given and the City is still making promotions from the list

generated by that examination, and (2) the City has now (finally) come out and firmly

stated that it intends to appeal this case. December 12, 2006 Trial Transcript at 18-19;

Defendant’s Proposed Findings at 10. If the next rounds of promotional examinations are

given while the case is on appeal and then again only many years later, the opportunity to

be promoted will be effectively lost to the remedial hires forever. If, in addition, they are

given the opportunity to take such examinations and are promoted, but do not receive

any enhancement of benefits, there will be no redress for denial of the promotion which

would likely have occurred if the hiring examination had been administered in a

nondiscriminatory manner, and hiring and promotional opportunities had been thus been


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made available years ago. The need for such relief is apparent from the nature of the

violation, and the facts that the discriminatory hiring began in April 1996, and since then,

the City has given promotional examination for Engineer in 1997 and 2001, and for

Lieutenant in 1999. See Defendant City of Chicago’s Contentions with Respect to

Plaintiffs’ Proposed Injunctive Order of Relief at 5-6; Defendant’s Proposed Findings at

8, ¶15, n.2.



       14.     In addition, the Court finds the City’s contentions to those provisions to be

persuasive. As stated in those contentions, this case never challenged any promotional process

and was brought solely as a disparate impact challenge to the written examination for the 1995

firefighter entrance examination. Accordingly, any relief sought now for promotions or for

promotional exams to be given at a certain time is outside the scope of plaintiffs’ EEOC

charges as well as outside the scope of their complaint.

       Plaintiffs’ Reply: It is simply not relevant that the plaintiffs did not challenge the

legality of the promotional process, just as it is irrelevant that the plaintiffs do not

challenge the legality of the seniority provisions of the Local 2 collective bargaining

agreement. The basis of the requested relief is the requirement under Title VII that the

Court provide make-whole relief to redress the established violations. See Albemarle

Paper Co. v. Moody, 422 U.S. 405, 418 (1975); Franks v. Bowman Transp. Co., Inc., 424

U.S. 747, 770 (1976). See also cases cited in Plaintiffs’ Reply Brief In Opposition to Rule

19(a) Defendant Chicago Fire Fighters Union Local No. 2's Proposed Findings of Fact

And Conclusions Of Law, at 2, 4.


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       15.    Even if the Court were to find that plaintiffs could seek relief for any “loss of a

chance” to be promoted to a higher rank than firefighter, the compensation plaintiffs seek for

the “delayed promotions to the rank of Engineer or Lieutenant” is based solely on speculation

that all plaintiffs would have been eligible and would have performed well enough2 on the

competitive promotional examinations to even be promoted. See e.g. Biondo v. City of

Chicago, 382 F.3d 680, 685-690 (7th Cir. 2004); Bishop v. Gainer, 272 F.3d 1009, 1015-

1017 (7th Cir. 2001). Plaintiffs did not provide any sort of evidence to support such a finding,

and this Court cannot award compensation that has no factual or legal basis.

       Plaintiffs’ Reply: Plaintiffs are only proposing to promote those remedial hires who

actually take and pass the appropriate promotional examinations, thus the qualifications

of “all plaintiffs” is not an issue. The qualifications of those promoted will be determined


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           There is even an issue as to which exams class members would have been eligible to
take had they been hired sooner. For example, only people who were actually employed and had
completed their probationary period nine months prior to the written portions of those
examinations would have been able to take the competitive 1997 and 2001 Engineer promotional
exams and the 1999 Lieutenant exam. Accordingly, only the shortfall of class members from the
classes hired May 16, 1996, October 1, 1996, and March 4, 1997 were eligible to take the 1997
engineer examination. Only the shortfall of class members from the classes hired May 16, 1996,
October 1, 1996, March 4, 1997, October 1, 1997, February 2, 1998 and February 16, 1999, were
eligible to take the 1999 lieutenant examination. Only the shortfall of class members from the
classes hired May 16, 1996, October 1, 1996, March 4, 1997, October 1, 1997, February 2, 1998,
February 16, 1999, December 1, 1999 and July 17, 2000 were eligible to take the 2001 engineer
examination.
        Plaintiffs’ Reply: This would only be an issue in the extremely unlikely event that
the number of the 132 remedial hires who (1) take the examination and (2) are promoted
by the City exceeds the number of shortfalls that would have been eligible to take the
previous examinations. It is an issue that should be addressed, if at all, by limiting the
salary and benefits enhancement to the first 105 remedial hires to be promoted to Engineer
(the number who, according to the City and Local 2, would have been eligible to take one
or both of the prior Engineer’s promotional examinations), and the first 72 remedial hires
to be promoted to Lieutenant (the number who, according to the City and Local 2, would
have been eligible to take the prior Lieutenant’s promotional examination).


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by the City’s own promotional process. Just as with the remedial hiring, the evidence that

supports the appropriateness of the promotional aspects of remedy is the undisputed loss

of opportunity as a result of the City’s violation of Title VII. Neither Biondo nor Bishop

provide any support for the City’s objections, indeed both cases support the remedy

proposed by the plaintiffs, as in both opinions, the Seventh Circuit held that the “‘loss of

chance’ method is the best way to handle probabilistic injuries” in cases where illegal

discrimination had caused loss of promotional opportunities. Biondo, 382 F.3d at 688,

citing Bishop, 272 F.3d at 1015-1016. Indeed, the City, the defendant in Biondo, agreed

with this approach. What the Seventh Circuit found to be inappropriate in Biondo and

Bishop was (1) the award of promotions to plaintiffs who had not passed promotional

examinations for the positions in question and had not presented sufficient evidence of the

probability that they would have done so, and (2) the award of full promotional back pay

to plaintiffs who had established only a small likelihood that they would have been

promoted. Biondo, 382 F.3d at 688-89; Bishop, 272 F.3d at 1015-17. Plaintiffs here are

not proposing to promote any of the remedial hires who do not take and pass the

appropriate promotional examinations, and are not proposing to award full promotional

back pay to those who do.



       16.    Indeed, plaintiffs have not attempted to even analyze what the class members’

chances for promotion could have been had they even been eligible to take the Engineer and

Lieutenant competitive exams, and therefore any promotional projections are too speculative

and entirely devoid of any probative data that would support any finding regarding lost


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promotional opportunities. See Biondo, 382 F.3d at 688.

       Plaintiffs’ Reply: This concern is resolved by the fact that plaintiffs are not

proposing to promote or award any promotional back pay to any remedial hire unless

and until he or she actually receives a promotion by the City to the rank in question. See

Reply to No. 15, above.



       17.     Because this case never challenged any promotional process, was brought solely

as a disparate impact challenge to the written examination for the 1995 firefighter entrance

examination, and because plaintiffs presented no data, evidence or analysis to support any

“loss of chance” to obtain promotions to Engineer or Lieutenant, no relief will be granted for

any compensation for “delayed promotions”. Nor will the Court enter any Order commanding

the City to give promotional examinations at any given time.

       Plaintiffs’ Reply: The lack of challenge to the legality of the promotional process is

irrelevant to the question of the propriety of the proposed relief. See Replies to Nos. 13-

15, above.



III.   Procedure for Payment and Distribution of Back Pay

       18.     Plaintiffs’ December 19, 2006, proposed injunctive order sets forth for the first

time their proposal as to how the back pay and pension payments should be made, as well as

how plaintiffs intend to distribute the back pay award. Dec. 19, 2006 PPFC at C(1-4).

Because plaintiffs failed to present this proposal to the City prior to the evidentiary hearing,

the City was unable to present any evidence or contentions to this proposal. Further, plaintiffs


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did not present any evidence to support a finding that the City should be ordered to follow a

procedure for making such payments that is contrary to the City’s usual and customary manner

of paying judgments entered against the City.

       Plaintiffs’ Reply: Plaintiffs’ proposal presents a reasonable and customary

approach to payment and distribution of back pay upon the determination of liability in a

class action. The “evidence” necessary to support the judgment is the evidence upon

which the determination of liability is based. Plaintiffs cannot imagine what additional

evidence the City might wish to present with regard to the monetary terms of the

judgment, and the City has not suggested what (if anything) that might be. The entry of a

monetary judgment, of course, creates an obligation to pay the judgment, and the City is

no exception to this rule. Since the City intends to appeal the judgment, the appropriate

recourse for the City is to seek a stay of judgment, either from this Court or, failing that,

from the Seventh Circuit. The City does not present the Court with any proposal as to

how and when the judgment is to be entered and paid - only objections as to plaintiffs’

proposals. This appears to be yet another example of the City’s unfortunate (if

understandable) pattern of attempting to delay the outcome of this case as long as

possible. The Court should enter a complete judgment at this time, subject only to the

monetary adjustments to back pay and benefits necessary to bring the amounts current at

the time of hiring (due to the passage of time and any adjustments as a result of changes

in revisions to the Local 2 collective bargaining agreement). Otherwise, the plaintiffs and

the Court face the prospect of greatly delaying the outcome of this litigation as the City

would likely appeal first the partial order now entered by the Court, and then, following


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affirmance by the Seventh Circuit, a subsequent appeal of the entry of the monetary

portion of the judgment - all for the purpose of delay. This should not be allowed.



       19.     Plaintiffs propose that within “30 days of the entry of this Order, the City shall

pay to an interest bearing escrow account opened by plaintiffs’ counsel ... the sum of

$22,778,533.” Dec. 19, 2006, PPFC at C(1). The Court will shortly address the amount of

backpay requested, but for purposes of this discussion, the Court will not order the City to pay

to an interest bearing escrow account the amount of the backpay that will be ordered for the

following reasons: First, plaintiffs have not provided the Court with any evidence to support

such a request. For example, there is no evidence that the City has ever not paid a judgment

ordered against it, or that it has not paid the appropriate post judgment interest. In other

words, plaintiffs fail to show there is a need for such a measure. Second, an interest bearing

account would provide a windfall for the plaintiffs. They would have the benefit of the interest

generated by such an account as well as additional postjudgment interest as plaintiffs are

seeking additional back pay amounts at future dates. Id. In contrast, the City would be

deprived of interest payments it normally receives on its investments up to the day the payment

is made, while at the same time it also would have to pay postjudgment interest. This is

especially important because the parties and the Court have all acknowledged that the final

judgment order will be appealed. An appeal will take months before a resolution is reached,

and during that time the City would not have use of the money that would be in the escrow

account.

       Plaintiffs’ Reply: See Reply to No. 18, above. In addition, plaintiffs note that the


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City misunderstands the role of postjudgment interest. Obviously, if a judgment is paid,

either to plaintiffs or, as here, to an interest bearing escrow account, the City would not

be responsible to also pay post-judgment interest. Post judgment interest is payable only

to compensate for the delay in payment of a judgment. See Kaiser Aluminum &

Chem.Corp. v. Bonjorno, 110 S.Ct. 1570, 1576 (1990) (“the purpose of postjudgment

interest is to compensate the successful plaintiff for being deprived of compensation for

the loss from the time between the ascertainment of the damage and the payment by the

defendant”) (internal citations omitted).



       20.     Likewise, the Court will not order the City to make the back pension payments

to the Firemen’s Annuity & Benefit Fund on or before the date of hire of any class members,

as requested in the December 19, 2006 proposed order. See Dec. 19, 2006 PPFC at C(2).

Again, because plaintiffs failed to inform the parties, including the Firemen’s Fund of this

proposal prior to the hearing, the parties were deprived of the opportunity to present evidence

as to the normal and customary manner in which the City makes such back pension payments

to the Fund. It is further noted that plaintiffs did not present any evidence to support a finding

that would contradict the normal and customary manner in which those payments are made.

Accordingly, this Court holds that the City’s portion of contributions for the back pension

credits that will be awarded to plaintiffs shall be made in accordance with the regular and

customary manner in which all such City contributions to the Pension Fund are made. To wit,

the Fund will present a bill to the City that will then be paid from the appropriate City fund to

the Fund.


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         Plaintiffs’ Reply: See Reply to No. 18, above. In addition, the City has not

explained to the Court or plaintiffs what it means by the “regular and customary manner

in which all such City contributions are made,” or when and how the City is billed by the

fund. Plaintiffs should not be left to such an uncertain fate.



       21.     Plaintiffs further seek contributions to other fringe benefits separate and apart

from the pension credits. December 19, 2006 proposed order at C(2). However, both Drs.

Bendick and White have already credited plaintiffs with the value of fringe benefits dating back

to May 16, 1996. See Dr. Bendick’s written testimony at p. 6; Dr. White’s written testimony

at pp. 6-7, 25. Therefore, to make the City pay amounts over and above what it already is

paying the plaintiffs for those fringe benefits would provide an enormous windfall to the

plaintiffs. This Court will not award such a windfall. Plaintiffs are thus only entitled to

receive the benefit of the City’s contributions to the Firemen’s Pension Annuity & Benefit

Fund for purposes of their retroactive pension credits, as well as the backpay amount that

already includes the monetary value of all lost fringe benefits.

       Plaintiffs’ Reply: The City is correct that the calculations of monetary relief

include fringe benefits. They do not, however, include the City’s contribution to the

Pension Fund. Therefore, Section C.2 of the Injunctive Order of Relief should apply only

to the City’s contributions to the Pension Fund, and should read as follows:

               On or before the date of hire of any class member pursuant to paragraph
               A4 of this Order, the City shall make payments to the Fireman’s Annuity &
               Benefit Fund in order to provide that class member, and his or her family,
               with the same level of pension funding as if the class member had been
               hired on December 4, 1998. If necessary, the Court will direct the Board of
               Trustees of the Fireman’s Annuity & Benefit Fund to accept contributions

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               by the City to fund benefits.

See proposed Revised Injunctive Order of Relief, attached hereto as Exhibit A, at Section

C.2.


       22.     Although the issue has been raised in the past as to how the backpay will be

distributed to the class members, it was not until the December 19, 2006 proposed injunctive

order that plaintiffs revealed their proposed plan. See Dec. 19, 2006 proposed order at C(3).

Plaintiffs’ proposal is that 1) the amount representing the out of pocket employee-portion of

pension contributions will first be deducted from the backpay award for those who are hired;

2) the remainder of the funds would then be distributed in equal shares to eligible class

members as they are defined in paragraph A1 of the proposed order who are also a) not hired,

and b) file a valid claim form; and 3) that if any funds remain after those two distributions, the

remainder will be paid to the African American Firefighters League (“AAFL”) for use in

recruiting and training African Americans for CFD examinations.

       23.     The City notes that according to the definition in A(1) of the proposed order, all

class members who have in the past been invited to the subsequent screening steps but who

were disqualified as a result of that screening, would not be eligible to share in the proceeds

from the fund, while class members who have not been screened, but who if screened would

also fail, are eligible for a payment. This appears to be a conflict between class members that

plaintiffs fail to address. Accordingly, the Court cannot at this time enter such an order, but,

if an appeal by the City is unsuccessful, the Court will at that time hold a fairness hearing.

       Plaintiffs’ Reply: There is no conflict between (1) persons who have been

disqualified by the City as a result of the screening process and (2) class members who

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have never been screened by the City. The first group are not class members, as they

have not been denied hiring opportunities as a result of their scores on the hiring

examination, but rather as a result of the City’s post-test screening process. See

Complaint, ¶ 7. In addition, there is no rationale or requirement for a “fairness hearing”

as a part of an adjudicated class action and the court ordered remedy following

determination of liability as opposed to a class action settlement. See Fed.R.Civ.P.

23(e)(1)(C); Armstrong v. Bd. of School Directors of City of Milwaukee, 616 F.2d 305, 313-

15 (7th Cir. 1980) (“The goal of the fairness hearing is to adduce all information necessary

to enable the judge intelligently to rule on whether the proposed settlement is ‘fair,

reasonable, and adequate.’”) (emphasis added), overruled on other grounds by 134 F.3d

873 (7th Cir.1998).



       24.    As to the distribution of any remaining funds to the AAFL for training

purposes, the City objects because any training the AAFL were to conduct for entrance

examinations3 that is funded through the backpay award from the City would first have to be

coordinated with the City to avoid providing conflicting information given to applicants. Due

to the inherent difficulties the City would have monitoring such training, and due to potential

liability issues that could be raised against the City were an applicant trained by the AAFL

given incorrect information that harmed that person’s performance on an examination, the


       3
          Although not specified in the proposed order, paragraph C(3-c), the City assumes that
the part referring to “CFD examinations” means only entrance examinations as it is only an
entrance examination that is the subject of this matter.
        Plaintiffs’ Reply: The City’s assumption is incorrect. See Replies to Nos. 13-17,
above.

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Court refrains at this time from entering such an order. Again, if an appeal by the City is

unsuccessful, the Court can address this issue at a later fairness hearing.

       Plaintiffs’ Reply: The African American Firefighters League is the appropriate

and logical recipient of any remainder funds, not only because of its status as a plaintiff

in this lawsuit, but also because of its long history of fighting against racial discrimination

in the Chicago Fire Department. The City’s assertion that any training of applicants for

hire or promotion by the AAFL would have to “coordinated with the City” is nonsense.

The AAFL has engaged in such training for years, and there is no legal or logical reason

to conclude that such activities could or would lead to “potential liability issues that could

be raised against the City.” See also, Reply to No. 23, above.



IV.    Reporting and Monitoring

       25.     Injunctive relief regarding post-Written Exam screening and training goes

beyond “make whole” relief available under Title VII. This is a disparate impact case

challenging the written examination only and there is no claim of disparate treatment.

Moreover, there is no evidence of discrimination in the Fire Academy. Accordingly, plaintiffs

have failed to meet their burden and present evidence that a monitor is needed.

       Plaintiffs’ Reply: The only reporting requirement proposed by plaintiffs is that the

progress of the remedial hires in the Academy be reported to class counsel. This is

minimally burdensome, and an appropriate aspect of relief given the unusual nature of

the classes in the Academy which will be comprised of remedial hires. Likewise, the only

monitoring proposed by plaintiffs is that an experienced member of plaintiff AAFL be


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allowed to serve as an ombudsman in the Academy during these admittedly unusual

classes of remedial hire cadets. This is a reasonable provision given the critical

importance of successful Academy training to the fair implementation of the hiring

remedy in this case.



       26.    This Court has already rejected plaintiffs’ request for monitoring and reporting

pre-employment screening. See Docket R. 349, Order of July 13, 2006. There is no evidence

or reason to believe that 132 class members will not meet screening requirements and the

Court has made clear there is no need for monitoring if 132 members pass the screening

requirements and are offered employment. Id.

       Plaintiffs’ Reply: See Reply to No. 25, above.



       27.    This Court also denies plaintiffs’ request for Academy reporting and

monitoring. Not only does this request go beyond “make whole” relief, there is also no

evidence of intentional discrimination. The record is void of any evidence that African-

American candidates have been treated unfairly at the Academy or that a remedial class will be

treated unfairly at the Academy. To the contrary, the Academy consistently has a diverse

body of candidates, instructors and commanders; and there have been no complaints of racial

discrimination. 12/12/06 Trial Tr. at 60:20-61:24; 62:8-63:1-21. (Testimony of Nielsen).

Further, the Department has every incentive for candidates, including court-ordered remedial

hires, to succeed at the Academy. 12/12/06 Trial Tr. at 55:305; 63:20-21 (Testimony of

Nielsen).


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       Plaintiffs’ Reply: See Reply to No. 25, above.



       28.     This Court finds there is no need for post-offer monitoring. As Nielsen

testified, a “monitor is not needed at the Fire Academy”. There is enough self-monitoring.

12/12/06 Trial Tr. at 65:25-66:1-6 (Testimony of Nielsen). As an initial matter, the CFD

prohibits discrimination at the Academy. 12/12/06 Trial Tr. at 62:8-63:1-22 (Testimony of

Nielsen). As Nielsen testified, “We have zero tolerance for harassment.” 12/12/06 Trial Tr.

at 63:18-21 (Testimony of Nielsen). There are procedures in place to report harassment,

allowing candidates to complain to instructors or bypass them and complain of discrimination

to an officer outside the academy. 12/12/06 Trial Tr. at 62:8-63:1-22 (Testimony of

Nielsen). 4 There are further checks in place at the Academy to make sure training is fair.

For example, the commanders, including Nielsen, monitor to make sure that “training is done

fairly.” 12/12/06 Trial Tr. at 64:18-21 (Testimony of Nielsen). The anti-discrimination

policy has been effective because there have been no problems at the academy with harassment

or discrimination. 12/12/06 Trial Tr. at 62:8-63:1-21 (Testimony of Nielsen).

       Plaintiffs’ Reply: See Reply to No. 25, above.



       29.     Plaintiffs’ reasons for requesting monitoring at the Academy lie on baseless




       4
        Further, in addition to the CFD’s own prohibitions and procedures, class members may
always file a charge of discrimination with the Equal Employment Opportunity Commission or
otherwise pursue another legal remedy.
       Plaintiffs’ Reply: Plaintiffs did so here, and eight years later, they are still waiting to
receive the remedy for the City’s illegal conduct. Obviously, it is preferable to take
reasonable efforts to avoid problems, rather than rely on legal redress thereafter.

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speculation. There is no evidence that a class of court-ordered remedial hires will be trained

or treated any differently than other candidates. In fact, not a single witness testified that they

experienced or witnessed discrimination at the Training Academy. To the extent plaintiffs cite

a snippet of opinion from Battalion Chief Nicholas Russell, it is irrelevant. His opinion did

not address Academy training. Jan. 22, 2004 Trial Tr. 1169:11-1170:1. Rather, he was

testifying regarding the African-American firefighters league’s recruiting efforts. Jan. 22,

2004 Trial Tr. 1169:11-1170:1.

       Plaintiffs’ Reply: See Reply to No. 25, above.



       30.     Also, contrary to plaintiffs’ unsupported assertions, there is no evidence a

remedial class would be composed entirely of African-American candidates. The Collective

Bargaining Agreement requires 10% of the class be paramedic cross-overs and more need to

be hired to make up for a deficit when the cross-over pool was exhausted from the well-

qualified list. In addition, paramedic cross-overs are an added benefit to the class because the

candidates often look to the paramedic cross-overs for support since they have been in the field

and paramedic cross-overs help out with EMT training as well as preparation for the national

registry exam. 12/12/06 Trial Tr. at 68: 9-22 (Testimony of Nielsen).

       Plaintiffs’ Reply: See Reply to No. 25, above.



       31.     The Court also notes that plaintiffs’ proposal for a monitor is nebulous.

Plaintiffs have asked for a monitor from the CFD itself but the scope of the monitor’s function

lacks any guidelines and is therefore only likely to be an unnecessary layer of bureaucracy.


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Additionally, instructors are already assigned to assist candidates. The instructors meet

regularly with an assigned small group of candidates to respond to their needs and offer

additional training and help with practical skills. 12/12/06 Trial Tr. at 55-56 (Testimony of

Nielsen).

       Plaintiffs’ Reply: See Reply to No. 25, above.



       32.     The Court declines to institute any reporting requirements during Academy

Training. While plaintiffs’ proposed injunctive order seeks to have class counsel notified of all

Academy members’ grades, class counsel withdrew such a request at the hearing. 5 12/12/06

Trial Tr. at 58:18-20 & 59:1-4 (Ms. Harper: Plaintiffs had proposed that they be monitors of

some of the grades, as the attorneys.... Mr. Piers: “We’re not proposing that any plaintiff[ ]s’

counsel be a member of the academy. There isn’t a plaintiffs counsel in this case that would

be qualified to be a monitor at the academy.”).

       Plaintiffs’ Reply: See Reply to No. 25, above.



       33.     Finally, the City notes that should a monitor be ordered, it should be an

incumbent member of the CFD recommended by both the City and plaintiffs, rather than

unilaterally by plaintiffs. 6 The City should not have to bear the cost of employing a retired

       5
         Class counsel also had asked for all candidates grades, including non classmembers but
there is also no need to evaluate plaintiff class members’ standing relative to others at the
Academy because as many candidates as meet the qualifications may become firefighters.
12/12/06 Trial Tr. at 55:305; 63:20-21 (Testimony of Nielsen).
       6
        Chief Nielsen’s testimony that “as far as a monitor being at the Academy, I would
actually encourage it” merely speaks to his support if the court ordered a monitor, not to its
necessity. As he clearly testified, Nielsen testified, a “monitor is not needed at the Fire

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firefighter for the purpose of monitoring. The City should also have an equal voice in

selecting an incumbent CFD member as it is the City that is most familiar with the

qualifications of its employees.

       Plaintiffs’ Reply: See Reply to No. 25, above.



V.     Monetary Relief

       34.     The parties are in agreement that the three major differences between them with

respect to monetary relief are the wage level that should be used in computing “interim

earnings”, whether backpay should include “moonlighting” income, and whether - if

prejudgment interest is awarded over the City’s objection - it should be at the prime rate or the

“small investor” rate.

       Plaintiffs’ Reply: Plaintiffs make no reply to Defendant’s Proposed Findings 34-54,

and 56-57, but rather refer the Court to the corresponding paragraphs of Plaintiffs’

Proposed Findings.



       35.     The Court adopts the Level 6 mitigation earnings, rejects plaintiffs’ claim for

“moonlighting” income, and rejects plaintiffs’ claim for prejudgment interest. Accordingly,

judgment is entered against the City in the amount of $ 12,220,381. See Exhibit B attached

hereto (Exhibit B is a duplicate of Exhibit 11 to White Direct Testimony).



Academy.” There is enough self-monitoring. 12/12/06 Trial Tr. at 65:25-66:1-6 (Testimony of
Nielsen). “We have zero tolerance for harassment.” 12/12/06 Trial Tr. at 63:18-21 (Testimony
of Nielsen). Further, Nielsen testified that the academy would be committed to making every
effort to have fair training for the classes hired as part of this lawsuit. 12/12/06 Trial Tr. at 76:1-
4 (Testimony of Nielsen).

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       A.      Determination of the Wage Level to be used in Calculating Interim Earnings

       36.     In determining the appropriate mitigating earning levels for the class, the Bureau

of Labor Statistics’ (“BLS”) National Compensation Survey (“NCS”) allows for estimating

mitigating earnings of the plaintiff class.7

       37.     Both parties’ economic experts agree that the appropriate occupation to analyze is

the job of firefighter because, as plaintiffs’ expert, Dr. Bendick explained, “this was one job they

were presumably willing and able to perform.” White Direct Testimony, ¶ 18 (quoting Dr.

Bendick July 2002 report, ¶ 41).

       38.     Both parties’ experts assigned points to each of the nine factors that the BLS uses

to evaluate the “level” of the firefighter position in Chicago. White Direct Testimony, ¶ 18. The

documentation produced by the BLS, including instructions, for the nine-factor scoring system is

provided as Appendix C of White’s January 20, 2003 report, attached as Exhibit 2 to his direct

testimony.

       39.     Level 6 is the appropriate level for the job of firefighter with the City of Chicago.

White Direct Testimony, ¶ 32. Although Dr. Bendick opined the job to be Level 5, he did so by

inappropriately assigning the lowest possible points to the “Scope and Effect” category. Id. Dr.

Bendick assigned the firefighter job only 25 points; yet, such a low score is appropriate only for

“specific, routine operations [where the] [e]ffect is on immediate organization, not broader.”

Dr. White Testimony, ¶¶ 20-21. But the job of firefighter is not “routine.” Dr. White

Testimony ¶ 22 (noting life-saving activities in emergency situations can be far from routine).

       40.     In deflating the points awarded to the “Scope and Effect” category, Dr. Benedick

       7
         The City sought discovery regarding plaintiff-specific information but was denied such
discovery. See Defendant’s Motion for Reconsideration of the Court’s 06/01/06 Ruling with
respect to the Denial of Representative Sample Discovery. See also Paragraph 57 below.

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relied on his own interpretation of the word “routine” -- one that directly conflicts with the BLS’

definition. White Direct Testimony, ¶ 22. According to Wayne Shelly, an Economist at the

BLS, the word “routine” in the NCS instructions refers to “simple, repeated, predictable tasks

that do not involve judgment calls and are capable of being reduced to written instructions.”

White Direct Testimony, ¶ 22. In contract, Dr. Bendick says –without any authority – that

“routine” is more appropriately referred to as “routinized” which he in turn defines as

“operations which a person has been trained to quickly assess a certain situation, to understand

which of the prior set of skills and equipment. . . had been trained to use he should apply.” Dr.

White Testimony ¶ 23 (citing Dr. Bendick’s September 13, 2006 testimony).

        41.     Dr. Bendick also scored the “Scope and Effect” category too low. The lowest

scoring applies only if the effect of a job is restricted to the immediate organization. Dr. White

Testimony ¶¶ 21-22. However, “[o]f course, a firefighter’s job affects people outside of their

immediate organization.” Dr. White Testimony ¶ 22. Thus, Dr. Bendick’s 25 point score for

the Scope and Effect criteria also ignores the undeniable broader affect of the firefighter’s job for

the higher rating.

        42.    The error of Dr. Bendick’s scoring of the “Scope and Effect” criteria is further

manifested by the fact that he assigns a lower score for the “Scope and Effect” of a firefighter

than the BLS assigns for the “Scope and Effect” of a dental hygienist. See Dr. White Testimony

¶ 25.

        43.    Accordingly, Dr. White appropriately gave the score of 150 for the Scope and

Effect criteria for a firefighter. The BLS described jobs at that level as ones impacting the

“social, physical and economic well-being of persons.” Dr. White Testimony ¶ 24. As the trial

record shows, the firefighter position certainly qualifies for the higher rating.


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       44.     The BLS’s recent conversion to a four-factor scoring system re-enforces that

Level 6 is the appropriate level. Dr. White Testimony ¶¶ 28-31. A primary difference with the

new four-factor system is that the “Knowledge” factor is reported for several different broad

occupational categories, of which Protective Service workers is one. Dr. White Testimony ¶ 28-

31, Ex. 6. Exhibit 6 to Paul White’s Written Testimony contains the BLS documentation of the

four-factor scoring system.

       45.     The BLS provides multiple examples of characteristics of protective services jobs

that apply to each point level. One of the examples provided by the BLS in the 550-point

category is a person who “[f]ights fires and carries out crash/rescue activities at a major airport

handling large aircraft, or located in a metropolitan area.” Dr. White Testimony ¶¶ 29, 38. This

is what firefighters do in a major metropolitan area like Chicago. Id.

       46.     The NCS documentation specifies that protective service jobs at the 550-point

level include administering CPR and automatic external defibrillators as an EMT, consistent

with the EMT qualifications and duties of Chicago firefighters. Dr. White Testimony ¶ 38.

       47.     Under the new BLS scoring system, the firefighter job scores at the 550 point

level in the Knowledge category and therefore, along with the other points accorded by both

experts in the three remaining categories, qualifies as a Level 6 position: one level higher than

Dr. Bendick scored the job.

       48.     A significant shortcoming of Dr. Bendick’s analysis is that he evaluated the

position using a “day one approach.” His approach excludes the possibility that the plaintiffs,

during the mitigation period, could obtain training in alternative employment or through

schooling and thus increase their mitigating earnings after a training period. Dr. White

Testimony ¶ 34 (c).


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       49.     For the firefighters who were hired by the City, an initial period of relatively low

earnings is often followed by a substantial pay raise in the next two years after they have

completed training. Dr. White Testimony ¶ 34(c).

       50.     However, under Dr. Bendick’s methodology, “the mitigating earnings are set at a

low level and are never assumed to substantially increase with the acquisition of training and the

enhancement of skills.” Dr. White Testimony ¶ 34(c). Dr. Bendick “assumes with 100%

certainty that [classmembers] projected City of Chicago Firefighter job will have a large post-

training increase in pay, but on the other hand, he assumes there is a 0% chance the same will

happen in mitigation.” Dr. White Testimony ¶ 34(c).

       51.     Because the backpay award is measuring losses across a number of years (and not

just on the first day), Dr. Bendick’s approach fails to allow the plaintiffs to enhance their skills in

mitigation but credits them with developing their skills in the Firefighter job.

       52.     Plaintiffs’ expert’s use of Level 5 mitigating earnings overstates the resulting

amount of economic loss. Dr. White Testimony ¶ 32.8

       53.     Plaintiffs rely heavily on a comparison of firefighter wages to 2000 Census

earnings levels by making much of the percentage of the workforce at earnings level

commensurate of Level 5 and Level 6 in arguing for Level 5. See PPFF ¶ 37. But their

argument is misleading because the Census earnings levels are not representative of the earnings

of those who most likely would have been hired as firefighters. Dr. White Testimony ¶ 36.

       54.     In analyzing the interim earning of the plaintiff class, the Court notes that the

class has already distinguished itself from the general labor market. For instance, each member

       8
        Even if this Court were to apply Dr. Bendick’s “day one” reasoning to the mitigating
earnings, Level 5 would only extend for the six-month academy training period, after which the
mitigating earnings would increase to the Level 6 earnings.

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of the class has applied for the position of firefighter and passed the Written 1995 Firefighter

exam, which was written at a twelfth-grade reading level. March 22, 2005 Order, p. 6.

       55.     Morever, the census data is irrelevant here because it does not hone in on persons

who registered for, took the firefighter test, passed the firefighter test; and for persons who

would pass the background screening, physical abilities test, medical examination and drug

screening; and who are still interested in the position. Dr. White Testimony ¶ 36. Further, Dr.

Bendick restricted the census pool he examined to included only African American males, aged

21-35, and whom had worked full-time 52 weeks in a calendar year. Dr. Bendick written

testimony at p. 16. However, the record shows that African American females are also class

members, and that not all class members are aged 21-35. Furthermore, by looking at only

persons who worked a total of 52 weeks per calendar year, Dr. Bendick eliminated individuals

who worked during a year, but not for the entire 52 weeks.

       Plaintiffs’ Reply: Dr. Bendick’s use of census data regarding African American

males was reasonable and appropriate given that this data was most comparable to the

class members, about 83% of whom are male. See Plaintiff’s Trial Exhibit 23, Firefighter

Exam Score List. In addition, women applicants fail the physical fitness test at a far

greater rate than do men. Given these facts, it would have made no sense to use either data

for African American women, or all African Americans (i.e. men and women combined), as

either would have been less comparable to the class.

       In addition, it is hard to understand why the City is complaining that Dr. Bendick

used only census data regarding persons who worked for 52 weeks in a year. This data was

used for comparison purposes with regard to the estimate of mitigation earnings, and if he

had used data which included persons who were employed for less time during a year, it

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would have decreased the estimated mitigation earnings and increased the projected wage

loss.

        56.    Additionally, plaintiffs are merely comparing the earnings at the probationary

level whereas wages jump significantly after the probationary period. For these reasons, Dr.

Bendick’s census data is unreliable and provides no support for his opinion that Level 5 is more

appropriate than Level 6.

        57.    The City sought discovery regarding plaintiff-specific information but was denied

such discovery. “A next-best alternative [to examining the 132 plaintiffs who should have been

hired] is to examine the actual earnings data of a well-constructed sample of the plaintiff class.”

Dr. White Testimony ¶ 43. Given that we do not know the exact 132 shortfall plaintiffs in

advance, a statistically representative sample of the earnings of 400 class members would

“provide a more accurate representation of mitigating earnings, compared to a government

survey of the general population.” Id.

B.      Moonlighting Income

        58.    Plaintiffs seek the extraordinary remedy of requiring the City to pay plaintiffs

additional money for secondary employment they believe plaintiffs may have engaged in had

they been hired by the City as firefighters at an earlier date. Plaintiffs have not carried their

burden. They fail to provide any reliable analysis that shows what percentage of CFD

firefighters who were hired off the 1995 Written Exam actually have secondary jobs, nor have

they provided any evidence for those who do have such jobs as to how many hours, what types

of jobs, or what income they make. Significantly, plaintiffs do not provide this Court with a

single case that supports a finding that the City has to pay from its funds, money that plaintiffs

claim would have possibly come from secondary employers. In short, plaintiffs have not


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tendered any reliable evidence as to the issue of secondary employment as it pertains to the CFD,

nor do they have any case law to support their claim for the City to pay them for “moonlighting.”

Their claim for moonlighting is speculative at best.

       Plaintiffs’ Reply: There is nothing “extraordinary” about including loss of

secondary employment (or “moonlighting”) income, as the opportunity to work a second

job is a significant and common opportunity available to firefighters due to the unusual

hours of their jobs. Compensation for the loss of this income is an inherent part of make

whole relief for loss of employment as a firefighter. The evidence introduced by plaintiffs is

unrebutted, and was used by Dr. Bendick in an extremely conservative manner.



       59.      The scant evidence plaintiffs rely upon for their “moonlighting” request cannot

form the basis for such an award. They offer only two pieces of evidence in support of their

request: 1) a 1995 survey by the Bureau of Labor Statistics which reports that 28.1% of persons

employed nationwide in firefighting occupations reported holding second jobs, and 2) one

sentence from the 1995 findings of the Chicago Commission on Human Relations in a case

called Hugh Adams and Chicago Fire Department and Edward Altman, 92-E-72 which states

“[a]ccording to First Deputy Commissioner Altman, roughly 90 percent of the firefighters have a

second job.” R. 366, Plaintiffs’ Exh. 1 (for Dec. 12, 2006 Hrg.)¶ 56. Plaintiffs have no other

evidence, and they did not present a single witness from the CFD to testify on the issue of

moonlighting.

       Plaintiffs’ Reply: See Reply to No. 58, above.



       60.      Regarding the 1995 Bureau of Labor Statistics report (which is hearsay), there is

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no evidence in that report that pertains strictly to Chicago. Additionally, the report is stale - it is

over eleven years old. Any reliability that such a report may have is not sufficient to satisfy the

burden plaintiffs carry to prove the damages the City owes them. In short, there is no evidence

that the report is relevant to the moonlighting rate of firefighters hired off the 1995 exam. For

instance, no witness identified any candidates who moonlighted while at the Academy and the

Academy “discourag[es] [moonlighting] because of the workload that candidates have.”

12/12/06 Transcript p. 72 ll. 17-19 (Nielsen testimony).

       Plaintiffs’ Reply: See Reply to No. 58, above. In addition, the 1995 BLS Report is

appropriate for an estimate of moonlighting income for a class of applicants who were

denied employment as firefighters beginning in 1996. Further, the BLS Report is not

hearsay pursuant to Federal Rule of Evidence 803(8), and in any case, hearsay may be

considered by an expert witness as a basis for his opinion. Federal Rule of Evidence 703.



       61.     Plaintiffs’ second piece of evidence is equally, if not even more, unreliable. One

sentence in a finding from a 1995 case cannot support, even together with the 1995 Bureau of

Labor report, a conclusion that the City must pay more than $1 million to plaintiffs for the

speculative loss of “moonlighting” income. See Chart set out in ¶27 of PPFC. Plaintiffs did not

even tender the actual testimony of former First Deputy Commissioner Altman (who was not the

named respondent in the Adams litigation). Instead, they rely solely on one sentence in one

finding of fact that is contained in a thirty-one page decision that has seventy-one (71) findings

of fact. That one sentence does not even state the basis for Altman’s statement in Adams.

R. 366, Plaintiffs’ Exh. 1 (for Dec. 12, 2006 Hrg.)

       Plaintiffs’ Reply: See Reply to No. 58, above. In addition, plaintiffs note that First


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Deputy Commissioner (and later Chicago Fire Commissioner) Altman was testifying as the

City’s witness, at a hearing held before a City Commission, and was a basis of the

adjudicated determination made by that Commission. The City’s admission through

Altman’s testimony (see Fed. R. Ev. 801(d)(2)(d)) stands unrebutted. Presumably, if the

City has a good faith basis to question the accuracy of this admission, they would have

introduced evidence explaining or limiting its meaning.



       62.       Even if the Court were to overlook the absence of reliable evidence to support

plaintiffs’ claim for moonlighting, they have failed to provide the Court with any legal precedent

for such a demand. They cite only to a case that states “overtime benefits should be considered

in a back-pay award”. PPFC at ¶ 44; Kossman v. Calumet County, 800 F.2d 697, 703 (7th Cir.

1985). That case does nothing to advance plaintiffs’ cause as it is undisputed that an employer

may have to pay for overtime losses in a backpay award. But there is nothing in the Kossman

case that supports the proposition that the City must pay for the speculative “moonlighting”

wages that could have come from employers other than the City of Chicago. Plaintiffs make no

argument, nor can they, that “moonlighting” is part of the job of firefighter. Accordingly,

plaintiffs’ demand for “moonlighting” income is denied as it is not supported by the evidence nor

any precedent.

       Plaintiffs’ Reply: See Replies to Nos. 58-62, above.



       C.        Prejudgment Interest

       63.              This Court declines to award prejudgment interest in this case. Contrary

to plaintiffs’ intimation, an award of prejudgment interest is not automatic and falls within the

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sound discretion of the trial court. Cement Division, National Gypsum Co. . City of Milwaukee,

144 F.3d 1111, 1114 (7th Cir. 1998).

       Plaintiffs’ Reply: The law is clear in the Seventh Circuit that prejudgment interest

should be awarded at prime rate. See case law authority presented in Plaintiffs’ Proposed

Finding 46.



       64.     The United States Supreme Court has stated that discretionary awards of

prejudgment interest are permissible under federal law in certain circumstances. Under the

Court’s analysis, the award should be a function of “the need to fully compensate the wronged

party for actual damages suffered, (ii) considerations of fairness and the relative equities of the

award, (iii) the remedial purpose of the statue involved, and/or (iv) such other general principles

as are deemed relevant by the court.” Wickham Contracting Co., Inc. v. Local Union No. 3

International Brotherhood of Electrical Workers, 955 F.2d 831, 835-36 (2d Cir. 1992), cert.

denied, 506 U.S. 946, 113 S.Ct. 394 (1992), citing Loeffler v. Frank, 286 U.S. 549, 557-58, 108

S.Ct. 1965 (1988), and Blau v. Lehman, 368 U.S. 403, 414, 82 S.Ct. 451 (1962). The Seventh

Circuit has stated that the decision to award prejudgment interest “involves a balancing of the

equities between the parties under the circumstances of the particular case.” Myron v. Chicoine,

678 F.2d 727, 734 (7th Cir. 1982). “An award of prejudgment interest is a compensatory remedy

and should not be made where it would overcompensate a plaintiff.” Nielsen v. Greenwood, No.

91 C 6357, 1996 WL 563539, at *9 (N.D. Ill. Oct. 1, 1996) (J. Pallmeyer), citing Commercial

Union Assurance Co. v. Milken, 17 F.3d 608, 614 (2d. Cir. 1994).

       Plaintiffs’ Reply: See Reply to No. 63, above.




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        65.     In this case, the equitable factors mitigate against awarding prejudgment interest.

First, the backpay damages associated with this Court’s finding that the City violated Title VII

are speculative and uncertain. The speculative nature of the damages is one factor the court

should consider in determining whether an award of prejudgment interest is appropriate under

the “current ‘equitable’ and discretionary rule” governing prejudgment interest. Wickham, 955

F.2d at 835-36. The Court calculated the mitigating earnings of the plaintiff class based on

statistical data from governmental surveys, rather than on the actual earnings data of the 132

plaintiffs who should have been hired or on a random sample of the plaintiff class. Although

government surveys are often useful for determining the earnings levels of the general

population, they may not be an accurate representation of the plaintiff class to the extent that the

characteristics of the class differ from that of the general population. Docket R. 371, ¶ 49(b)

(Written direct of Dr. Paul White).

        Plaintiffs’ Reply: See Reply to No. 63, above. In addition, as noted above, Dr.

Bendick’s estimate of mitigation earnings were extremely conservative.



        66.     In addition, this case has been pending for more than 8 years. There were

significant litigation delays that are not attributable to the City and, as a result, the interest has

mounted dramatically. Finally, this is not a case of withholding wages that are due to an

employee for work actually performed. Thus, there is no element of unjust enrichment on behalf

of the City. See Heiar v. Crawford County, Wisconsin, 746 F.2d 1190, 1203 (7th Cir.

1984)(noting for purposes of prejudgment interest the Court should consider that County lacked

the benefit of the plaintiffs’ work after forcing them to retire).

        Plaintiffs’ Reply: See Reply to No. 63, above. The Court is well aware of the role the

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City has played in unduly prolonging this litigation.



       67.      In the event this Court concludes that plaintiffs are entitled to prejudgment

interest, the maximum rate of return should be the small investor rate. Although the Seventh

Circuit has stated that the prime rate is the “best starting point” for prejudgment interest, it has

also made clear that district courts have discretion to set a rate that is more appropriate to the

circumstances of the particular case. National Gypsum Co., 144 F.3d at 1114. Plaintiffs have

cited no evidence or reason to believe that they would have invested at a rate higher than the

small investor rate of return. Furthermore, both experts calculated back pay interest using the

small investor rate. Docket R. 371, ¶ 45( c) (Written direct of Dr. Paul White); R. 366, Trial Tr.

77:12 - 78:6; Docket R. 366, Trial Tr. (Cross of Marc Bendick) at 82:15-83:11. Significantly as

well, plaintiffs’ own expert indicated that for purpose of computing “make whole relief” in this

case, he would use the small investor rate. Docket R. 366, Trial Tr. (Cross of Marc Bendick) at

83:4 - 84:10.

       Plaintiffs’ Reply: See Reply to No. 63, above.



       68.      The Court adopts the Level 6 mitigation earnings, rejects plaintiffs’ claim for

“moonlighting” income, and rejects plaintiffs’ claim for prejudgment interest. Accordingly,

judgment is entered against the City in the amount of $ 12,220,381. 9 See Exhibit B attached

hereto (Exhibit B is a duplicate of Exhibit 11 to White Direct Testimony).




       9
         If the Court awards prejudgment interest, it should be at the small investor rate and the
amount, absent moonlighting income, is $13,111,151. See PPFC at ¶ 27.
      Plaintiffs’ Reply: See Reply to No. 63, above.

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       Plaintiffs’ Reply: Plaintiffs make no reply to Defendant’s Proposed Findings 68-70,

other than to refer the Court to Plaintiffs’ Proposed Findings.



Conclusion

       69.     The City has prepared two draft injunctive orders that are consistent with the law

and facts of this case. The first proposed order is a red lined draft of plaintiffs’ December 19,

2006 proposed order and is attached as Exhibit C. The second proposed order is simply the

version in final form of the previous red lined draft. See Exhibit D. By submitting these draft

orders, the City expressly does not waive its right to appeal the March 22, 2005, liability finding,

nor any finding pertaining to the remedial phrase of these proceedings.

       70.     The City respectfully requests that this Court now enter a final and appealable

F.R.Civ.P. 54 Order, terminating these proceedings.

DATED: January 11, 2007

                                                      Respectfully submitted,

                                                      /s/ Matthew J. Piers
                                                      One of the Attorneys for the Plaintiffs

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